              Case 18-65262-pmb                   Doc 1     Filed 09/11/18 Entered 09/11/18 16:30:52                               Desc Main
                                                                                                                                                 9/11/18 3:41PM
                                                            Document     Page 1 of 16
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                VENETIAN ROOM, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  50 Hurt Plaza, Suite 200                                        3040 Business Park Dr. Suite A
                                  Atlanta, GA 30303                                               Norcross, GA 30071-1425
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.venetianroomatl.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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                                                                 Document     Page 2 of 16
Debtor    VENETIAN ROOM, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7223

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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                                                              Document     Page 3 of 16
Debtor   VENETIAN ROOM, LLC                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    VENETIAN ROOM, LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 11, 2018
                                                  MM / DD / YYYY


                             X   /s/ Jeffrey Safarriyeh                                                   Jeffrey Safarriyeh
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Justin Oliverio                                                       Date September 11, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Justin Oliverio
                                 Printed name

                                 Attorney Justin Oliverio LLC
                                 Firm name

                                 150 E. Ponce de Leon Ave.
                                 Suite 200
                                 Decatur, GA 30030
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     678-856-6780                  Email address      Justin@AJOLLC.com

                                 368598 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name VENETIAN ROOM, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 50 Hurt LLC                                                     Amount                 Disputed                                                                        $132,693.44
 ATTN Karen Everett,                                             demanded on
 Manager                                                         9-6-2018
 50 Hurt Plaza
 Atlanta, GA 30303
 Georgia Department                                              August 2018 Sales                                                                                         Unknown
 of Revenue                                                      Taxes (Due
 Attn: Bankruptcy                                                9/20/18)
 Division
 1800 Century Blvd
 NE STE#17200
 Atlanta, GA 30345
 Wells Fargo Bank                                                Interest charges       Disputed                                                                          $46,976.01
 PO Box 29482                                                    disputed. Should
 Phoenix, AZ                                                     be 3%, Not 12%
 85038-8650




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                                      Document     Page 6 of 16
 Fill in this information to identify the case:

 Debtor name         VENETIAN ROOM, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown       Unknown
           Georgia Department of Revenue                             Check all that apply.
           Attn: Bankruptcy Division                                    Contingent
           1800 Century Blvd NE STE#17200                               Unliquidated
           Atlanta, GA 30345                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     August 2018 Sales Taxes (Due 9/20/18)
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 $132,693.44
           50 Hurt LLC
           ATTN Karen Everett, Manager                                                 Contingent
           50 Hurt Plaza                                                               Unliquidated
           Atlanta, GA 30303                                                           Disputed
           Date(s) debt was
                                                                                   Basis for the claim:     Amount demanded on 9-6-2018
           incurred 2016-2018        Misc. Charges
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Safari Hospitality Mngmt Inc.                                               Contingent
           C/O ADAM RIMES, CFO                                                         Unliquidated
           3040 Business Park Dr. STE A                                                Disputed
           Norcross, GA 30071
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 1 of 2
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            Case 18-65262-pmb                         Doc 1          Filed 09/11/18 Entered 09/11/18 16:30:52                                      Desc Main
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 Debtor       VENETIAN ROOM, LLC                                                                      Case number (if known)
              Name

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $46,976.01
           Wells Fargo Bank                                                     Contingent
           PO Box 29482                                                         Unliquidated
           Phoenix, AZ 85038-8650
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Interest charges disputed. Should be 3%, Not 12%
           Last 4 digits of account number      1913
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       50 Hurt LLC
           PO Box 68045                                                                               Line     3.1
           Newark, NJ 07101-8085
                                                                                                             Not listed. Explain

 4.2       50 Hurt LLC
           c/o National Reg. Agent Inc                                                                Line     3.1
           289 S. Culver St
                                                                                                             Not listed. Explain
           Lawrenceville, GA 30046


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                     179,669.45

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                        179,669.45




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         VENETIAN ROOM, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Lease for Debtor's
             lease is for and the nature of               Place of Business /
             the debtor's interest                        Event Center
                                                          Expires on or about
                                                          Feb. 10, 2019
                  State the term remaining
                                                                                    50 Hurt LLC
             List the contract number of any                                        PO Box 68045
                   government contract                                              Newark, NJ 07101-8085




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         VENETIAN ROOM, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Jeff Safari                       STE A                                             Wells Fargo Bank                   D
                                               3040 Business Park Dr.                                                               E/F       3.3
                                               Norcross, GA 30071
                                                                                                                                    G




    2.2      Southern                          6375 Regency Parkway, Ste 710                     50 Hurt LLC                        D
             Hospitality                       Norcross, GA 30071                                                                   E/F       3.1
             Mngmt Inc
                                                                                                                                    G




    2.3      Southern                          6375 Regency Parkway Suite 710                    50 Hurt LLC                        D
             Hospitality                       Norcross, GA 30071                                                                   E/F
             Mgmnt Inc
                                                                                                                                    G   2.1




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re       VENETIAN ROOM, LLC                                                                                   Case No.
                                                                                     Debtor(s)                    Chapter    11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                 3,283.00
             Prior to the filing of this statement I have received                                          $                 3,283.00
             Balance Due                                                                                    $                     0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Jeffrey Safarriyeh
                                                                     ($5,000 Total for Legal Fees & Filing Fee)

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with creditors; preparing Chapter 11 Plan and Disclsoure Statement; and, other aspects necissary
                 for a successful reorganization or resolution to this Chapter 11 case.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Amounts listed on this statement include only costs of pre-petition services and filing of Chapter 11 Case.
               Post-petition legal fees and expenses will be calculated pursuant to Debtor's Application to Employ Bankruptcy
               Counsel (if approved by the Court).
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 11, 2018                                                             /s/ Justin Oliverio
     Date                                                                           Justin Oliverio
                                                                                    Signature of Attorney
                                                                                    Attorney Justin Oliverio LLC
                                                                                    150 E. Ponce de Leon Ave.
                                                                                    Suite 200
                                                                                    Decatur, GA 30030
                                                                                    678-856-6780 Fax: 1-800-524-0851
                                                                                    Justin@AJOLLC.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      VENETIAN ROOM, LLC                                                                                        Case No.
                                                                                     Debtor(s)                        Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Safari Hospitality Managm. Inc                                      Equity/Voting    100%                                       Sole Member
 3040 Business Park Dr. STE A
 Norcross, GA 30071


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 11, 2018                                                      Signature /s/ Jeffrey Safarriyeh
                                                                                            Jeffrey Safarriyeh

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      VENETIAN ROOM, LLC                                                                       Case No.
                                                                                   Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 11, 2018                                         /s/ Jeffrey Safarriyeh
                                                                        Jeffrey Safarriyeh/Manager
                                                                        Signer/Title




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                        50 Hurt LLC
                        ATTN Karen Everett, Manager
                        50 Hurt Plaza
                        Atlanta, GA 30303



                        50 Hurt LLC
                        PO Box 68045
                        Newark, NJ 07101-8085



                        50 Hurt LLC
                        c/o National Reg. Agent Inc
                        289 S. Culver St
                        Lawrenceville, GA 30046



                        Georgia Department of Revenue
                        Attn: Bankruptcy Division
                        1800 Century Blvd NE STE#17200
                        Atlanta, GA 30345



                        Jeff Safari
                        STE A
                        3040 Business Park Dr.
                        Norcross, GA 30071



                        Safari Hospitality Mngmt Inc.
                        C/O ADAM RIMES, CFO
                        3040 Business Park Dr. STE A
                        Norcross, GA 30071



                        Southern Hospitality Mngmt Inc
                        6375 Regency Parkway, Ste 710
                        Norcross, GA 30071



                        Wells Fargo Bank
                        PO Box 29482
                        Phoenix, AZ 85038-8650
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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      VENETIAN ROOM, LLC                                                                             Case No.
                                                                                     Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for VENETIAN ROOM, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Safari Hospitality Managm. Inc
 3040 Business Park Dr. STE A
 Norcross, GA 30071




    None [Check if applicable]




 September 11, 2018                                                    /s/ Justin Oliverio
 Date                                                                  Justin Oliverio
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for VENETIAN ROOM, LLC
                                                                       Attorney Justin Oliverio LLC
                                                                       150 E. Ponce de Leon Ave.
                                                                       Suite 200
                                                                       Decatur, GA 30030
                                                                       678-856-6780 Fax:1-800-524-0851
                                                                       Justin@AJOLLC.com




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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      VENETIAN ROOM, LLC                                                                              Case No.
                                                                                  Debtor(s)                 Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, , declare under penalty of perjury that I am the Manager of VENETIAN ROOM, LLC (hereinafter "LLC"), and
that the following are a true and correct copy of the resolutions adopted by the Manager of said LLC at a special
meeting duly called and held on September 11, 2018.

      "Whereas, it is in the best interest of this LLC to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, the member, manager and attorney(s) for the LLC are authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the LLC; and

        Be It Further Resolved, that the manager and attorney(s) for the LLC are authorized and directed to
appear in all bankruptcy proceedings on behalf of the LLC, and to otherwise do and perform all acts and deeds
and to execute and deliver all necessary documents on behalf of the LLC in connection with such bankruptcy
case, and

       Be It Further Resolved, that the LLC is authorized and directed to employ Justin Oliverio, attorney and
the law firm of Attorney Justin Oliverio, LLC to represent the corporation in such bankruptcy case."

 Date      September 11, 2018                                                            /s/ Jeffrey Safarriyeh
                                                                                         Manager of Venetian Room, LLC &
                                                                                         CEO of Equity Security Holder Safari Hospitality
                                                                                         Management, Inc.




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                                                                        Resolution of Member
                                                                                  of
                                                                         VENETIAN ROOM, LLC




        Whereas, it is in the best interest of this Limited Liability Company (hereinafter, "LLC") to file a
voluntary petition in the the United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United
States Code;

        Be It Therefore Resolved, that the member, manager, and attorney(s) of the LLC are authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the LLC; and

        Be It Further Resolved, that the manager and attorney(s) of the LLC are authorized and directed to
appear in all bankruptcy proceedings on behalf of the LLC, and to otherwise do and perform all acts and deeds
and to execute and deliver all necessary documents on behalf of the LLC in connection with such bankruptcy
case, and

      Be It Further Resolved, that the manager and attorney(s) of the LLC are authorized and directed to
employ Justin Oliverio, attorney and the law firm of Attorney Justin Oliverio, LLC to represent the LLC in such
bankruptcy case.

 Date      September 10, 2018                                                  Signed   /s/ Jeffrey Safarriyeh
                                                                                        Manager of Venetian Room, LLC &
                                                                                        CEO of Equity Security Holder Safari Hospitality
                                                                                        Management, Inc.




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